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                                                      September 11, 2023

The Honorable Ann M. Donnelly
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re: United States v. Douglass Mackey, Criminal Docket No. 21-0080 (AMD)

Dear Judge Donnelly:

                 On the issue of whether the identified documents should be unsealed, Mr. Mackey
agrees in full with the position stated in the government’s letter dated September 10, 2023, that
is, Mr. Mackey does not object to unsealing the documents with the exception of the second
bulleted paragraph and accompanying footnote in the government’s letter of June 28, 2023.
While the parties’ agreement on this issue might obviate the need to say more, the sealing of
names in the second bulleted paragraph and accompanying footnote is somewhat consistent (even
if not identical) to earlier sealing of names in this case; and the paragraph and footnote allege
misconduct by innuendo which was not proven, did not happen at all as the allegation suggests,
and in the view of the defense should not appear in the public record. If the Court wishes more
briefing on the issue, we stand ready to do so.

                                              Respectfully submitted,

                                              /s/ Andrew J. Frisch
                                              Andrew J. Frisch

cc:    United States Attorney’s Office
